 Case 1:18-cr-00414-RBJ Document 1 Filed 09/11/18 USDC Colorado Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Case No.:    18-cr-00414-RBJ

UNITED STATES OF AMERICA,

             Plaintiff,

v.

ARIEL NICOLE WALKER,

             Defendant.


                                      INDICTMENT
                             21 U.S.C. § 841(a)(1), (b)(1)(C)
         (Distribution of a Schedule I Controlled Substance Resulting in Death)


THE GRAND JURY CHARGES:



                                        COUNT 1

      On or about May 31, 2018, in the State and District of Colorado, the defendant,

ARIEL NICOLE WALKER, did knowingly and intentionally distribute a mixture and

substance containing a detectable amount of heroin, a Schedule I controlled substance,

the use of which resulted in the death of E.N. on or about that same date.

//



//



//
Case 1:18-cr-00414-RBJ Document 1 Filed 09/11/18 USDC Colorado Page 2 of 2




      All in violation of Title 21, United States Code, Section 841(a)(1) and (b)(1)(C).


                                         TRUE BILL:


                                         Ink signature on file in Clerk’s Office
                                         FOREPERSON


ROBERT C. TROYER
United States Attorney

By: s/Peter McNeilly
PETER MCNEILLY
Assistant United States Attorney
1801 California Street, Suite 1600
Denver, Colorado 80202
Telephone 303-454-0100
Fax 303-454-0403
Email: Peter.McNeilly@usdoj.gov
Attorney for the Government




                                            2
